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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                             MDL No. 2841
                                Master File No. 18-MD-02841-GAYLES


   IN RE:

   MONAT HAIR CARE PRODUCTS MARKETING,
   SALES PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION
   ______________________________________________

   THIS DOCUMENT RELATES TO ALL CASES
   ______________________________________________/

                      OBJECTION TO REPORT AND RECOMMENDATION

            The Special Master’s Report and Recommendation (dated 8/20/2019) incorrectly found

   that the work product privilege does not extend to a discovery request that compels Plaintiffs’

   counsel to identify what documents, from among thousands reviewed, she has selected and culled

   for potential use at forthcoming depositions or at trial for impeachment.         The Report and

   Recommendation accordingly erred on a matter of law, and should be reversed and resubmitted

   with appropriate instructions for reconsideration.

            I.     Background

            Plaintiffs, class representatives in a suit against hair-products manufacturer Monat Global

   Corporation and its affiliates (collectively “Monat”), sought depositions of six high-ranking

   “Market Partners,” individuals who Monat compensates for advertising and selling their products

   through a complex multi-level marketing scheme. Each Market Partner has worked with Monat

   for years, during which time they have produced substantial social media and other advertising




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   material for Monat on the internet, all of which Monat controls via Market Partner agreements that

   grant it power to change, curtail, or remove any Market Partners’ advertising at any time.1

             Plaintiffs’ counsel first requested these depositions in March 2019, and in June 2019

   indicated to the defendants the Market Partners’ social medial advertisements could be a topic

   explored during each person’s deposition. Exhibit 1. Defense counsel responded by asking

   Plaintiffs’ counsel to identify the specific advertisements she intended to discuss with each witness

   and by refusing to permit the depositions from going forward until such disclosures were made.

   Id.     Plaintiffs’ counsel in turn objected, contending that the selection of potentially relevant

   advertisements from the Monat Partners’ social media pages was work product, even if these

   materials—which Monat controlled and could obtain for itself, either from the Market Partners or

   from the same public websites plaintiffs reviewed—were not. Id.

             Monat thereafter moved to compel through a motion to the Special Master, identifying two

   broadly-worded requests for production (tendered to each class representative separately) as

   collectively reaching the documents Plaintiffs’ counsel obtained from the Market Partners’ social

   media pages. See Report and Recommendation (“R & R”) at Ex. A at 1 (contending the materials

   sought are responsive to requests for production 20 and 21); Exhibit 2 (Plaintiff Alabaster’s

   response and objection to same).2 Plaintiffs filed a response and the Defendants’ a reply, and both

   parties filed supplemental materials after the Special Master’s telephonic hearing.3




   1
     Plaintiffs can produce an exemplar agreement under seal (Monat asserts it is privileged) should
   the Court wish to review it.
   2
       Each named plaintiff filed identical objections to these discovery requests.
   3
    Although the Report and Recommendation attaches the motion, response, and reply (which the
   parties agreed to submit via email), the parties’ supplemental materials were not included. Those
   are attached here as Exhibit 2. The telephonic hearing mentioned therein was not transcribed.

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          The Special Master ultimately granted the Defendants’ motion. He rejected Plaintiffs’

   position that the work product privilege protects Plaintiffs’ counsel from identifying documents

   that attorneys selected and culled from their internet research, and instead found that because the

   documents selected and culled were not themselves created in anticipation of litigation—a

   “threshold issue”—the work product privilege does not apply. Report and Recommendation (“R

   & R”) at 6. Nonetheless, insofar as Plaintiffs’ counsel memorialized parts of these online

   advertising materials in memoranda or other internal documents, the Special Master held that these

   internal documents could be withheld provided “Plaintiffs extract the underlying factual

   information [relevant to Defendants’ requests] and make only that information ready for

   production to the Defendants.” Id. at 10.

          II.     Legal Standards

          Under Rule 53 of the Federal Rules of Civil Procedure, the Court reviews the Special

   Master’s legal findings de novo. Fed. R. Civ. P. 53.

          III.    Argument

          The work product privilege attaches where a party “seeks documents already in its

   possession for the sole purposes for ascertaining the opposing attorney’s strategy.” Callaway v.

   Papa John’s USA, Inc., 2010 WL 4024883, at *7 (S.D. Fla. Oct. 12, 2010) (citing Matter of Grand

   Jury Subpoenas Dated Oct. 22, 1991, and Nov. 1, 1991, 959 F.2d 1158, 1166 (2d Cir. 1992)). As

   the Eighth Circuit observed, “In cases that involve reams of documents … the selection and

   compilation of documents is often more crucial than legal research,” as it reflects a lawyer’s

   “professional judgment of the issues and defenses involved in th[e] case.” Shelton v. Am. Motors

   Corp., 805 F.2d 1323, 1329 (8th Cir. 1986). So where a lawyer identifies certain documents as

   particularly relevant to her “legal theories and thought processes,” what she selects is “protected




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   as work product” even if the underlying documents themselves are not. Id.; accord Stevens v.

   U.S., 2011 WL 13173610, at *2 (S.D. Fla. Jul. 25, 2011) (discovery is prohibited insofar as it

   requires a lawyer to disclose “the selective weighing and sorting of information collected … in

   discovery”); Sporck v. Peil, 759 F.2d 312, 316 (3d Cir. 1985) (“[T]he selection and compilation

   of documents by counsel … in preparation for pretrial discovery falls within the highly-protected

   category of opinion work product.”). This doctrine is fully applicable here.

          First, Monat controls the documents it seeks from Plaintiffs’ counsel because its Market

   Partner agreements confer Monat with power over the online activities of the Market Partners

   Plaintiffs wish to depose. These materials are therefore in Monat’s care, custody, and control not

   merely because they are public, the proposition the Special Master considered and rejected (R &

   R at 9-10), but because their agreements with the Market Partners make them so.4

          Second, Monat does not merely seek the marketing materials its six Market Partners have

   published online, all of which are responsive to its requests for production (nos. 20 and 21)—items

   Monat can obtain from the Market Partners itself, and which it would be obligated to produce,

   were Plaintiffs to issue a discovery request or subpoena asking the Market Partners to do so. It

   instead seeks only those marketing materials Plaintiffs’ counsel has marked in its internal

   memoranda as potentially useful in the upcoming Market Partner depositions or at trial. See

   Exhibit 3 at 1-2 (argument by Monat that the materials Plaintiffs have identified online are those

   with which they may “use to prove their case.”). As other courts have found, the work product

   privilege protects Plaintiffs’ counsel from revealing her mental impressions through the type of




   4
    Monat accepted service on behalf of all six Market Partners for purposes of their upcoming
   depositions. See Exhibit 1.


                                                   4
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   discovery requests Defendants are pursuing here. Stevens, 2011 WL 13173610, at *2; Shelton,

   805 F.2d at 1329; Sporck, 759 F.2d at 316.

          Plaintiffs’ counsel has spent more than one thousand hours reviewing Monat’s online

   advertising to identify material it can potentially use at deposition and at trial, material that in

   virtually every case Monat or its Market Partners own and maintain on websites they control.

   Exhibit 1. And though the Special Master found that Plaintiffs were “withholding basic factual

   information” (R & R at 10), Defendants in fact have superior access to the marketing materials

   they are requesting and direct control over the Market Partners who authored them. Defendants’

   discovery requests thus do not appear to be concerned with true fact discovery. They instead

   appear predicated on uncovering what materials Plaintiffs’ counsel has culled and has potential to

   use at the Market Partners’ upcoming depositions. In such circumstances, the work product

   privilege applies, and the Report and Recommendation errs in concluding otherwise.

          IV.     Conclusion

          In light of the above, Plaintiffs ask the Court to reverse the Special Master’s Report and

   Recommendation and to resubmit Plaintiffs’ work product objection for further proceedings—

   including for fact-finding, if the Special Master deems such hearings necessary. See In Re Traysol

   Prods. Liability Litig., 2009 WL 936597, at *4 (S.D. Fla. Apr. 7, 2009) (a court may consider

   affidavits or other evidence showing that a work product under Shelton and Sporck creates a “real,

   non-speculative danger of revealing [opposing] counsel’s thoughts [and mental impressions].”).

          WHEREFORE, Plaintiffs hereby object to the Special Master’s Report of August 20, 2019,

   and move the Court to reverse the Special Master’s findings and to resubmit the matter for

   additional hearings consistent with the authorities cited herein.




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          DATED: August 26, 2019.
                                                        Respectfully submitted,

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                  CERTIFICATE OF ELECTRONIC FILING AND SERVICE

          I HEREBY CERTIFY, that on August 26, 2019, I caused the foregoing document to be

   electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing




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   document is being served this day on all counsel of record via transmission of Notices of Electronic

   Filing generated by CM/ECF.

                                                                        /s/ Julie Braman Kane
                                                                        Julie Braman Kane




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